
797 So.2d 58 (2001)
STATE ex rel. Larry JONES
v.
STATE of Louisiana.
No. 2000-KH-1186.
Supreme Court of Louisiana.
September 21, 2001.
Denied.
CALOGERO, C.J., would grant the writ and dissents from the denial of the writ application. I would grant in part and order the district court to appoint counsel and hold a hearing at which it will determine whether the police had a reasonable basis for believing that relator would destroy the evidence when the police undertook their warrantless entry of relator's motel room, or if, on the other hand, they lacked that reasonable basis and so lacked the required exigent circumstances to excuse the warrant requirement under the Fourth Amendment and La. Const. art. I, Section 5. See State v. Killian, 95-826, p. 5 (La.App. 3 Cir. 5/8/96), 677 So.2d 487, 491; State v. Wimberly, 588 So.2d 1343, 1347 (La.App. 2nd Cir.1991).
KIMBALL, J., would grant the writ.
JOHNSON, J., would grant the writ.
